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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

David M Boswell Jr.
                               Plaintiff,
v.                                                  Case No.: 1:16−cv−09070
                                                    Honorable John Robert Blakey
Lt. Sullivan, et al.
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, February 22, 2018:


       MINUTE entry before the Honorable Maria Valdez: Magistrate Judge status
hearing held on 2/22/18. This case is set to 6/20/18 at 2:00 p.m. in Courtroom 1041 for
settlement conference. Judge Valdez requires full compliance with the Court's Standing
Order on Settlement Conference found on Judge Valdez's website available at
www.ilnd.uscourts.gov, or the parties can contact courtroom deputy, Lisa Provine, at
(312)408−5135 for a copy. Failure to comply with the provisions of the Court&#039;s
Standing Order may result in the unilateral cancellation of the settlement conference by
the Court. Absent leave from the Court, cancellation will result if the Plaintiff fails to
submit to chambers copies of the settlement letters 21 days prior to the settlement
conference. Because of the volume of settlement conferences conducted by Judge Valdez,
once a settlement conference date has been agreed upon, no continuance will be granted
without a motion showing extreme hardship. Mailed notice(lp, )




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